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TUAN DAO




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                       Case No. 2:09-cr-0222-TLN
             Plaintiff,                         STIPULATION AND ORDER
vs.
TUAN DAO,
             Defendant.
                                           /


      It is hereby stipulated and agreed to by the United States of America
through HEIKO P. COPPOLA, Assistant United States Attorney and defendant TUAN
DAO, by and through his attorney, KENNY N. GIFFARD, that the Judgment and
Sentencing set for Thursday, May 1, 2014, be continued to Judgment and Sentencing on
Thursday, June 19, 2014, at 9:30 a.m.
      This continuance is being requested because the Pre-Sentence Report
prepared in Mr. Dao’s portion of this case contained factual allegations which were not
contemplated by the parties when the PLEA AGREEMENT was made at the December
12, 2013, hearing on Mr. Dao’s change of plea. Because of those discrepancies, portions
of the Pre-Sentence Report were objected-to by this defendant.
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       The factual discrepancies substantially affect the “Offense Level” and potential
sentence to be served by Mr. Dao in this case. The time requested will allow both the
United States Attorney and defense counsel time to resolve those disputed facts so that
the matter may proceed for sentencing.

Dated: April 28, 2014
                                           Respectfully submitted,


                                           /s/ Kenny N. Giffard
                                           KENNY N. GIFFARD
                                           Attorney for Defendant
                                           TUAN DAO


                                           /s/ Kenny N. Giffard for
                                           ______________________________________
                                           HEIKO P. COPPOLA
                                           Assistant U.S. Attorney



                                          ORDER
       Based upon the stipulation of the parties and good cause there appearing,
the Court hereby adopts the stipulation of the parties in its entirety as its order. The
Judgment and Sentencing is set for June 19, 2014, at 9:30 a.m.
Dated: April 29, 2014



                                                     Troy L. Nunley
                                                     United States District Judge


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